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                   14
                                                        UNITED STATES DISTRICT COURT
                   15
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   16
                                                             OAKLAND DIVISION
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                   18
                        In re Google RTB Consumer Privacy                  Master File No. 4:21-cv-02155-YGR-VKD
                   19   Litigation,
                                                                           JOINT STIPULATION AND [PROPOSED]
                   20                     Plaintiffs,                      ORDER TO EXTEND TIME TO RESPOND TO
                                                                           PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                   21          v.                                          CONSIDER WHETHER ANOTHER PARTY’S
                                                                           MATERIALS SHOULD BE SEALED [ECF
                   22   This Document Relates to: all actions,             NO. 666]

                   23                     Defendant.

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COOLEY LLP
ATTORNEYS AT LAW                                                                                 JOINT STIPULATION AND
 SAN FRANCISCO                                                                                       (PROPOSED) ORDER
                                                                                      CASE NO. 4:21-CV-02155-YGR-VKD
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                    1                                            STIPULATION
                    2          Pursuant to Civil Local Rule 6-1(b), Consolidated Plaintiffs (“Plaintiffs”) and Defendant

                    3   Google LLC (“Google”) (collectively, the “Parties”), by and through their attorneys of record,

                    4   hereby stipulate as follows:

                    5          WHEREAS, on February 2, 2024, Plaintiffs filed an Administrative Motion to Consider

                    6   Whether Another Party’s Materials Should Be Sealed (the “Motion”) with regard to three

                    7   documents containing information that Google has designated “Highly Confidential – Attorneys’

                    8   Eyes Only,” see ECF No. 666,

                    9          WHEREAS, pursuant to Civil Local Rule 79-5(f)(3), absent an extension from the Court,

                   10   Google must respond to Plaintiffs’ Motion within seven days of its filing;

                   11          WHEREAS, the Parties have agreed to request that the Court extend Google’s deadline to

                   12   respond to the Motion by seven days to permit Google sufficient time to assess the materials subject

                   13   to the Motion;

                   14          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties that,

                   15   subject to the Court’s approval, Google’s response to Plaintiffs’ Motion shall be due on February

                   16   16, 2024.

                   17          IT IS SO STIPULATED.

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                   19   Dated: February 8, 2024                              COOLEY LLP
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                   21                                                            /s/ Aarti Reddy
                                                                                Aarti Reddy
                   22                                                           Attorney for Defendant
                                                                                GOOGLE LLC
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COOLEY LLP
ATTORNEYS AT LAW                                                                                      JOINT STIPULATION AND
 SAN FRANCISCO                                                           2                                (PROPOSED) ORDER
                                                                                           CASE NO. 4:21-CV-02155-YGR-VKD
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                    1   Dated: February 8, 2024                      PRITZKER LEVINE LLP
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COOLEY LLP
ATTORNEYS AT LAW                                                                              JOINT STIPULATION AND
 SAN FRANCISCO                                                   3                                (PROPOSED) ORDER
                                                                                   CASE NO. 4:21-CV-02155-YGR-VKD
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                                                                                            ykolesnikov@bottinilaw.com
                    6

                    7                                                               Interim Class Counsel for Plaintiffs
                    8

                    9   PURSUANT TO STIPULATION, IS SO ORDERED
                   10

                   11   Dated: __________________
                                                                                    Hon. Virginia K. DeMarchi
                   12                                                               United States Magistrate Judge
                   13

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                   16                     ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
                   17
                                    I, Aarti Reddy, attest that concurrence in the filing of this document has been obtained from
                   18
                        the other signatory. Executed on February 8, 2024, in Chino Hills, California.
                   19
                                                                                    /s/ Aarti Reddy
                   20                                                               Aarti Reddy
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COOLEY LLP
ATTORNEYS AT LAW                                                                                          JOINT STIPULATION AND
 SAN FRANCISCO                                                                4                               (PROPOSED) ORDER
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